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EXHIBIT C
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2107 CityWest Bivd., Bldg. 4-1319A * USPS Mail To: P 0. Box 42806 (77242) « Houston, Texas 77042-3051
Direct: 281.781.2608 « Fax: 713.839.4565 « e-mail: james.ferguson@halliburton.com

James W. Ferguson
Vice President
Deputy General Counsel

May 5, 2010

BP Exploration and Production, Inc.
200 Westlake Park Blvd.

Westlake 4

Houston, Texas 77079

ATTN: Sundaram Srinivasan

John (Jack) E. Lynch, Jr.

U.S. General Counsel

Global Exploration and Production
Global Supply and Trading

BP America Inc.

501 Westlake Park Bivd.

Houston, Texas 77079

Re: Contract for Gulf of Mexico Strategic Performance Unit Offshore Well Services
Between BP Exploration and Production, Inc. and Halliburton Energy Services, Inc.
BPM-09-00255

Gentlemen:

As a result of the explosions, fire and well blowout that occurred at the Transocean drilling vessel
DEEPWATER HORIZON location on April 20, 2010 (the “Incident”), Halliburton Energy Services, Inc.
("Halliburton") has been named as a defendant in numerous lawsuits filed in multiple jurisdictions,
including but not limited to those listed on Attachment 1 hereto. These suits allege that Halliburton,
among others, is responsible for both personal injuries, including death, suffered on board the vessel
and subsequent third party damages incurred as a consequence of the incident.

At all material times, Halliburton and BP Exploration and Production, Inc. ("BP") were and are parties to
the above referenced "Contract for Gulf of Mexico Strategic Performance Unit Offshore Well Services,"
No. BPM-09-00255 (the "Contract"). Section 2, General Conditions of Contract, Clause 19, Indemnities,
establishes an allocation of liability that is applicable to this Incident and claims and litigation related
thereto. In particular, Clause 19.6 (b) requires BP to save, indemnify, release, defend and hold harmless
Halliburton against all claims, losses, damages, costs (including legal costs) expenses and liabilities
arising from blowout, fire, explosion, cratering or any uncontrolled well condition. The only exceptions
to this obligation are Halliburton’s responsibilities under Clauses 19.1 and 19.4(b) with respect to claims
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by its employees, for damages to Halliburton's property or equipment, or for pollution from
Halliburton’s equipment or its property, respectively.

Separately, and in addition to the above, Clause 19.4(a) provides that BP will save, indemnify, release,
defend and hold Halliburton harmless from any claim of whatsoever nature arising from pollution
and/or contamination unless it arises from Halliburton’s equipment or property or results in damages to
Halliburton’s employees or its own property or equipment.

Pursuant to Clause 19.1(b) Halliburton agrees to indemnify BP and other companies in the Service
Company Group against claims by our employees. Clause 19.9 provides that BP would attempt to insert
a similar provision in its contracts with those other service companies. If that is the case, then
Halliburton would be a third party beneficiary of any such provisions and it may be that we could tender
claims by such persons to their employer instead of BP. That would seem particularly applicable to the
Transocean Drilling Contract and we have requested a copy of that contract from BP to evaluate a
possible tender to Transocean. However, we have received no response to that inquiry and therefore
must at this time consider such cases to be BP’s responsibility as indicated by the above analysis.

Accordingly, under the provisions cited above and any other applicable provisions, Halliburton hereby
tenders to BP the defense and indemnity of Halliburton in all relevant lawsuits and claims related to the
incident, including without limitation those listed on Attachment 1 and other, similar cases that have
been or will in the future be brought with respect to the Incident. Halliburton hereby requests BP’s
agreement that it will be responsible for the cost of Halliburton’s defense in all such actions and will
satisfy any judgments rendered and/or fund settlements thereof.

Since many of these suits have been served already and others will be soon, Halliburton must engage
counsel and proceed with the defense of the suits. We consider costs incurred in that regard to fall
within BP’s obligation described above. In that regard, we have retained the firm of Adams & Reese to
represent Halliburton with respect to the personal injury cases brought by personnel on the rig and the
firm of Godwin Ronquillo to represent Halliburton in defending the various class action, pollution and
property damage cases. In either category, local counsel will be engaged as appropriate. We are happy
to provide full details with respect to any outside counsel upon request.

We look forward to receipt of BP’s prompt acceptance of this tender. We are more than happy to meet
with your legal representatives to discuss procedures for the implementation of the indemnity
obligations in the Agreement.

Very truly yours,
Halliburton Energy Services, Inc.

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Attachment 1

Shane Roshto and Natalie Roshto v. Transocean, Ltd. and BP, PLC
Civil Action No. 2:10-cv-01156, Section B (3)
United States District Court for the Eastern District of Louisiana

Fishtrap Charters LLC, Action Outdoors LLC, TNT LLC and Jon B. Ingram v. Transocean, Ltd and BP, PLC
Civil Action No. 1:10-cv-00202-CB-M
United States District Court, Southern District Alabama

Darleen Jacobs Lewy, Pitf. v. Transocean, Ltd., et al. and BP, PLC
Civil Action No. 10:1245, Section “R” (3)
United States District Court, Eastern District of Louisiana

Bon Secour Fisheries, Inc. and Bon Secour Boats, Inc., individually and on behalf of themselves and all
others similarly situated, Pltfs. V. BP, PLC

Civil Action No. 1:10-cv-00206-M

United States District Court, Southern District Alabama

James F. Mason v. BP, PLC
Civil Action No. 1:10-cv-00191
United States District Court, Southern District of Alabama Southern Division

Acy J. Cooper, Jr. and Ronnie Louis Anderson v. BP, PLC
Civil Action No 2:10-cv-01229-KDE-SS
United States District Court, Eastern District of Louisiana

Billy Wilkerson; Tessa Wilkerson;T&E Seafood, Inc.; Jubilee Seafood, Inc.; Malay, Inc.;Country, Inc.; and
Deep Sea Food, Inc. v. BP, PLC

Civil Case No. 1:10-cv-00201
John Andrew Nelson — Notice of Claims under the Oil Pollution Act,

Ben Nelson and Jeri Nelson, D/B/A Jeri’s Seafood, Inc., Roy Tipps and Ned Baron, each individually and
on behalf of those similarly situated v. BP, PLC

Civil Docket for Case No. 3:10-cv-00172
United States District Court, Southern District of Texas, Galveston Division

Robin Seafood Co., Inc. et al v. BP, PLC
Civil Docket for Case No. 2:10-cv-01314-HGB-SS
United States District Court, Eastern District of Louisiana (New Orleans)
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Nova Affiliated, S.A. v. BP, PLC
Civil Docket for Case No. 2:10-cv-01313-LMA-JCW
United States District Court, Eastern District of Louisiana (New Orleans)

Felix Alexie, Jr. v. BP, PLC
Civil Docket for Case No. 2:10-cv-01250-CJB-DEK
United States District Court, Eastern District of Louisiana (New Orleans)

Michael Ivic, Misho’s Oyster Company, Misho’s Quality Oysters, LLC, Vatroslav Garbin, Jakov Jurisic,

Daniejel Dekovic, Capt. Jocob, Inc., Europe II oysters, Inc., JJ’s Oysters, LLC, Capt. Marko, LIC, Vinka Ann
Company v. BP PLC

Civil Docket for Case No. 2:10-cv-01249-JCZ-KWR
United States District Court, Eastern District of Louisiana (New Orleans)

Matthias Properties, LLC v. BP, PLC
Civil Docket for Case No. 2:10-cv-01309-CJB-KWR
United States District Court, Eastern District of Louisiana (New Orleans)

Charles Robin, Ill v. BP, PLC
Civil Docket for Case No. 2:10-cv-01295-HGB-DEK
United States District Court, Eastern District of Louisiana (New Orleans)

Ray Vath and Louisiana Environmental Action Network, Inc.
Civil Docket for Case No. 2:10-cv-01273-ILRL-JCW
United States District Court, Eastern District of Louisiana (New Orleans)

Bryan C. Carrone and Raymond K. Landry v. BP, PLC
Civil Docket for Case No, 2:10-cv-01315-MVL-JCW
United States District Court, Eastern District of Louisiana (New Orleans)

Ben Robin, In His Own Capacity and on Behalf of Oyster Fisheries, Inc., Gulf Quality, Inc., Clearwater
Oyster, Inc., and Eleanor Robin Mook, et al. v. BP PLC

Civil Docket for Case No. 2:10-cv-01248-KDE-ALC

United States District Court, Eastern District of Louisiana (New Orleans)

James J. Friloux and Ethlyn Marie Banquer Friloux v. BP, PLC
Civil Docket for Case No. 2:10-cv-01246-ILRL-JCW
United States District Court, Eastern District of Louisiana (New Orleans)

Tracy Kleppinger, Individually and as Representative of the Estate of Karl Kleppinger and as next friend
of Aaron Thomas Kleppinger v. BP, PLC

Civil Docket for Case No. 2010-25245

Judicial District Court of Harris County, TX

Stephen Stone & Sara Stone v. Transocean Offshore Deepwater Drilling, Inc.; BP Products North
America, Inc.

Civil Docket for Case No. 2010-25245

Judicial District Court of Harris County, TX
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Michael Williams v. Transocean Holdings, Inc and BP, PLC
Civil Docket for Case No. 2:10-cv-01243-SRD-SS
United States District Court — Eastern District of Louisiana

Fort Morgan Sales, Rentals & Development et al. v. Transocean Holdings, Inc. et. al.
Civil Action No. 10-00203-KD-C
United States District Court, Southern District of Alabama

Cooper, Jr. et al v. BP, PLC
Civil Action No, 2:10-cv-01229-KDE-SS
United States District Court, Eastern District Louisiana

Robin, et al. v. BP, PLC
Civil Action No. 2:10-cv-01248-KDE-ALC
United States District Court, Eastern District Louisiana

Vath et al v. BP, PLC
Civil Action No. 2:10-cv-01273-ILRL-JCW
United States District Court, Eastern District Louisiana

Robin et al v. BP, PLC
Civil Action No. 2:10-cv-01295-SRD-DEL
United States District Court, Eastern District Louisiana

Bill’s Oyster House LLC v. BP, PLC
Civil Action No. 2:10-cv-01308-MLCF-ALC
United States District Court, Eastern District Louisiana

Nova Affiliated, S.A. v. BP, PLC
Civil Action No. 2:10-cv-01313-MLA-JCW
United States District Court, Eastern District Louisiana

Dugas et al v. BP, PLC
Civil Action No. 2:10-cv-01322-LMA-DEK
United States District Court, Eastern District Louisiana

Barisich et al v. BP, PLC
Civil Action No. 2:10-cv-001324-CIJB-SS
United States District Court, Eastern District Louisiana

Rodrigue etal v. BP, PLC
Civil Action No. 2:10-cv-01325-KDE-KWR
United States District Court, Eastern District Louisiana

Forte v. Cameron International Corporation and BP, PLC
Civil Action No. 1:10-cv-00173-HSO-JMR
United States District Court, Mississippi Southern District
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Parker et al v. BP, PLC
Civil Action No. 1:10-cv-00174-HSO-JMR
United States District Court, Mississippi Southern District

Cajun Maid LLC et al. v. BP, PLC
Civil Action No. 1:10-cv-00176-HSO-JMR
United States District Court, Mississippi Southern District

Nguyen et al. v. BP, PLC
Civil Action No. 1:10-cv-00178-LG-RHW
United States District Court, Mississippi Southern District

Burke v. BP Corporation North America, Inc.
Civil Action No. 1:10-cv-00195-WS-M
United States District Court, Alabama Southern District

Trahan et al v. BP et al.
Civil Action No. 1:10-cv-00198-WS-B
United States District Court, Alabama Southern District

Wilkerson et al. v. Transocean Holdings, Inc. et al
Civil Action No. 1:10-cv-00201-M
United States District Court, Alabama Southern District

Fishtrap Charters, LLC et al. v. Transocean Holdings, Inc., et al.
Civil Action No. 1:10-cv-00202-KD-B
United States District Court, Alabama Southern District

Simpson v. Transocean, Ltd and BP, PLC
Civil Action No. 1:10-cv-00210-WS-N
United States District Court, Alabama Southern District

Gulf Shores West Breach Investments, LLC v. Transocean Holdings and BP, PLC
Civil Action No. 1:10-cv-00213-C
United States District Court, Alabama Southern District

Billy’s Seafood, Inc. v. Transocean Holdings, Inc. and BP, PLC
Civil Action No. 1:10-cv-00215-M
United States District Court, Alabama Southern District

Orange Beach Marina, Inc. et al. v. Transocean Holdings, Inc. and BP, PLC
Civil Action No. 1:10-cv-00217-B
United States District Court, Alabama Southern District

Pendarvis et al. v. BP, PLC
Civil Action No. 1:10-cv-00218-KD-M
United States District Court, Alabama Southern District

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Hopkins v. Transocean Holdings, Inc and BP, PLC
Civil Action No. 1:10-cv-00221-WS-C
United States District Court, Alabama Southern District

Lavigne et al. v. BP, PLC
Civil Action No. 1:10-cv-00222-C
United States District Court, Alabama Southern District

Original Oyster House, Inc. et al. v. Transocean Holding, Inc. BP, PLC
Civil Action No. 1:10-cv-00223-KD-C
United States District Court, Alabama Southern District

Blue Water Yacht Sales and Services, inc. et al. v. Transocean Holdings, Inc. and BP, PLC
Civil Action No. 1:10-cv-00224-KD-N
United States District Court, Alabama Southern District

Ocean Reef Realty Inc. v. BP, PLC
Civil Action No. 3:10-cv-00132-LC-MD
United States District Court, Florida Northern District

Salley v. Transocean Holdings, Inc. and BP, PLC
Civil Action No. 3:10-cv-00133-MCR-EMT
United States District Court, Florida Northern District

Joe Patti Seafood Company, et al. v. Transocean Holdings and BP, PLC
Civil Action No. 3:10-cv-00137-MCR-EMT
United States District Court, Florida Northern District

Destin et al. v. BP, PLC
Civil Action No. 3:10-cv-00141-MCR-EMT
United States District Court, Florida Northern District

Ward et al. v. BP, PLC
Civil Action No. 4:10-cv-00157-SPM-WCS
United States District Court, Florida Northern District

Water Street Seafood Inc., et al. v. BP, BP Products North America Inc., et al.
Civil Action No. 4:10-cv-00162-SPM-WCS
United States District Court, Florida Northern District

Walsh. v. BP, PLC
Civil Action No. 4:10-cv-00101-RS-MD
United States District Court, Florida Northern District

John Andrew Nelson — Notice of Claims under the Oil Pollution Act
Alabama
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Christopher L. Nelson of Bon Secour Fisheries, Inc. and Bon Secour Boats, Inc. — Notice of Claims under
the Oil Pollution Act, -
Alabama
